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                        IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

In re:                                                    Case No. 21-32968-KLP
JAMES DATHALE GREEN AND                                               Chapter 13
LASHAWNA SHONTIQUE GREEN,
       Debtors.
______________________________________________________________________________

              ORDER GRANTING MOTION FOR AUTHORITY TO INCUR DEBT
                        SECURED BY PERSONAL PROPERTY

         This matter comes before the Court on the Motion for Authority to Incur Debt Secured by

Personal Property (the “Motion”), filed by James Dathale Green and Lashawna Shontique

Green (the “Debtors”), and it appearing to the Court as follows:

         1.       The Debtors have complied with Local Bankruptcy Rule 9013-1 and the notice

provisions required by Bankruptcy Rules 4001 and 9014;

         2.       No parties in interest have filed any timely objection to the Debtors' Motion;

         3.       Debtors have a reasonable need to purchase a vehicle, and the terms of the loan

debt that Debtors seek to incur to finance the purchase of the vehicle (the “Loan”) are reasonable

and necessary;

         4.       The terms of the Loan are as follows:

                  a.    The total principal amount of the Loan was $24,129.13;

                  b.    Interest will be charged at a fixed rate of 19.99%;

                  c.    The Loan will be amortized for no more than 60 months; and

                  d.    The monthly principal and interest payment is $644.46;

                  e.    The Debtors made a down payment of $2,000.00 dollars; the source of the

down payment came from a gift from a family member;
Laura T. Alridge (VSB #42549)
Boleman Law Firm, P.C.
P. O. Box 11588
Richmond, VA 23230-1588
Telephone: (804) 358-9900
Counsel for Debtors
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and

        5.      Granting the Debtors' Motion will not unduly prejudice any creditors or any

parties in interest in this case;

        Upon consideration of which, and for good cause shown, it is hereby

        ORDERED that the Debtors' Motion is GRANTED; and it is further

        ORDERED that the Debtors may enter into the Loan transaction, or a substantially

similar loan transaction, and execute such documents as are necessary to complete the

transaction to finance the purchase of a 2017 Ford Explorer or a substantially similar vehicle;

and it is further

        ORDERED that the fourteen (14)-day stay of this order, provided for pursuant to Federal

Rule of Bankruptcy Procedure 6004(h), is hereby waived; and it is further

        ORDERED that the Clerk shall mail copies of this Order, once entered, to all parties on

the attached service list.



      Mar 12 2025
Date: _______________________                  /s/ Keith L Phillips
                                              ___________________________________
                                              United States Bankruptcy Judge

                                                                  Mar 12 2025
                                              Entered on Docket: ___________________
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I ASK FOR THIS:


/s/ Laura T. Alridge
Laura T. Alridge (VSB #42549)
Boleman Law Firm, P.C.
P. O. Box 11588
Richmond, Virginia 23230-1588
Telephone: (804) 358-9900
Counsel for Debtors


SEEN AND NO OBJECTION:


/s/ Laura T. Alridge on behalf of Suzanne E. Wade w/ permission via email
Suzanne E. Wade, Esquire
Chapter 13 Trustee


                                      CERTIFICATION

       Pursuant to Local Rule 9022-1(C), I hereby certify that all necessary parties have
endorsed the above order.

                                             /s/ Laura T. Alridge
                                             Counsel for Debtors
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                             PARTIES TO RECEIVE COPIES

Boleman Law Firm, P.C.
P. O. Box 11588
Richmond, Virginia 23230-1588

Office of the U.S. Trustee
701 E. Broad Street
Room 4304
Richmond, Virginia 23219

Suzanne E. Wade, Esquire
Chapter 13 Trustee
7202 Glen Forest Dr.
Ste 202
Richmond, VA 23226

James Dathale Green and Lashawna Shontique Green
10321 Antietam Court
Fredericksburg, VA 22408
